On July 31, 1986, appellee, Michael E. Hammesfahr, pleaded guilty to two counts of rape, in violation of R.C. 2907.02. He was subsequently sentenced by the Lake County Court of Common Pleas to serve an indefinite term of incarceration of five to twenty-five years on both counts, each sentence to run concurrently. Having pled guilty to a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, recently amended R.C. Chapter 2950. On April 11, 1997, appellee filed a motion to dismiss the registration requirements of the new law on the basis that the law is unconstitutional.
By judgment entry filed July 1, 1997, the trial court granted appellee's motion and dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual predator proceedings is hereby affirmed on alternative grounds.
                                     _________________________ JUDGE ROBERT A. NADER
FORD, P.J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.